     Case 4:22-cv-04217 Document 10 Filed on 12/09/22 in TXSD Page 1 of 1
                                                                                  United States District Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
                                                                                   December 09, 2022
                       IN THE UNITED STATES DISTRICT COURT                          Nathan Ochsner, Clerk
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

VILT LAW, P.C.,                               §
                                              §
      Plaintiff,                              §
                                              §   Civil Action No. 4:22-cv-4217
                                              §
V.                                            §
                                              §
JPMORGAN CHASE BANK, N.A.,                    §
                                              §
      Defendant.                              §

                   ORDER GRANTING EMERGENCY MOTION TO
                   DISSOLVE TEMPORARY RESTRAINING ORDER

        On this day came to be heard Defendant JPMorgan Chase Bank, N .A.' s Emergency Motion

to Dissolve or Modify Ex Parte Temporary Restraining Order ("Motion"). The Court, having

considered the Motion, the pleadings, and any evidence and arguments presented by the parties,

hereby finds that the Motion is well founded. The Motion is GRANTED.

        IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that the Court's

Temporary Restraining Order dated December 8, 2022 (ECF No. 6) is hereby dissolved in its

entirety.

        IT IS SO ORDERED.

        Dated: December!_, 2022
